                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS




 AMERICAN PUBLIC HEALTH
 ASSOCIATION, et al.,

                               Plaintiffs,
                                                        Case No. 1:25-cv-10787-WGY
 v.

 NATIONAL INSTITUTES OF HEALTH, et
 al.,

                               Defendants.


              APHA PLAINTIFFS’ MOTION TO FILE UNDER SEAL THE
              MAY 27 AND JUNE 13 LISTS OF GRANT TERMINATIONS

       Pursuant to Local Rule 7.2, APHA Plaintiffs respectfully request that the lists of terminated

grants at issue in this matter submitted to the Court and Defendants on May 27, 2025 and June 13,

2025, see ECF No. 118, be filed under seal as attachments to APHA Plaintiffs’ forthcoming

proposed Rule 54(b) final judgment and to the Court’s Rule 54(b) final judgment. In the event that

the Court does not grant this request, APHA Plaintiffs respectfully request that the Court permit

them until 12pm on Monday, June 23 to either file the current spreadsheets or potentially file

spreadsheets with certain grants removed but none added.1 Counsel for Defendants has indicated

that they take no position on the motion.




1 Under this alternative approach, the potentially updated spreadsheets that Plaintiffs might file

would not include any grants in addition to those already provided to Defendants on May 27, 2025
and June 13, 2025.




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       The accompanying memorandum sets forth the reasons for filing these two lists under seal

on the docket. For the reasons articulated in that memorandum, APHA Plaintiffs respectfully

request that the Court grant this motion or, in the event that the Court does not grant the motion,

permit them until 12pm on Monday, June 23 to either file the current spreadsheets or potentially

file spreadsheets with certain grants removed but none added.



Dated: June 18, 2025                             Respectfully submitted,


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Counsel for Plaintiffs

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                            LOCAL RULE 7.1 CERTIFICATION

       Counsel for APHA Plaintiffs hereby certifies that they conferred with counsel for the

Defendants regarding this motion in a good faith effort to narrow or resolve the relief requested.

Defendants indicated they take no position on this motion.


June 18, 2025                                       /s/ Matthew D. Brinckerhoff
                                                    Matthew D. Brinckerhoff




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2025 a true copy of the above document was filed via the

Court’s CM/ECF system and that a copy will be sent automatically to all counsel of record.


June 18, 2025                                       /s/ Matthew D. Brinckerhoff
                                                    Matthew D. Brinckerhoff




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